Case 1:22-cv-03053-SN Document 57-20 Filed 06/26/23 Page 1 of 4




EXHIBIT T
                                          Case 1:22-cv-03053-SN Document 57-20 Filed 06/26/23 Page 2 of 4


                                                                                                        CALCULATION OF DAMAGES
                                                                                                            ANTHONY TABAS

                                                                                                NYLL OVERTIME COMPENSATION OWED
                                                                 Overtime
                                                                                                                            Weekly                                   Regular Rate (RR)                                                                     Total Overtime
                                                                 Hours (OT                                                                  Total Weekly                                       Overtime Rate                          Overtime Owed
       Period Start   Period End                  Hours Worked                    Days Worked Per Daily Rate of Pay                                                  (Greater of TWR / Hours                       Difference b/w                           Comp Owed
Year                               Weeks Worked                    Hrs)                                                   Commission     Renumeration (TWR)                                       (OTR)                                 Per Week
           Date          Date                       Per Week                           Week             (DR)                                                           Worked or Stat. Min.                        OTR and RR                             (OT Owed Per Week x
                                                                 (Hrs Worked-40                                             (WC)         ((DR x Days Worked) + WC)
                                                                                                                                                                              Wage)
                                                                                                                                                                                                   (RR x 1.5)                           (OT Hrs x Diff)
                                                                                                                                                                                                                                                             Weeks Worked)
                                                                      Hrs)
2016    6/5/2016      6/11/2016        1.00          60.00           20.00              6.00        $       120.00    $            -     $                720.00      $              12.00     $           18.00   $            6.00 $          120.00    $          120.00
       6/12/2016      6/18/2016        1.00          60.00           20.00              6.00        $       120.00    $            -     $                720.00      $              12.00     $           18.00   $            6.00 $          120.00    $          120.00
       6/19/2016      6/25/2016        1.00          60.00           20.00              6.00        $       120.00    $            -     $                720.00      $              12.00     $           18.00   $            6.00 $          120.00    $          120.00
       6/26/2016       7/2/2016        1.00          60.00           20.00              6.00        $       120.00    $            -     $                720.00      $              12.00     $           18.00   $            6.00 $          120.00    $          120.00
        7/3/2016       7/9/2016        1.00          60.00           20.00              6.00        $       120.00    $            -     $                720.00      $              12.00     $           18.00   $            6.00 $          120.00    $          120.00
       7/10/2016      7/16/2016        1.00          60.00           20.00              6.00        $       120.00    $            -     $                720.00      $              12.00     $           18.00   $            6.00 $          120.00    $          120.00
       7/17/2016      7/23/2016        1.00          60.00           20.00              6.00        $       120.00    $            -     $                720.00      $              12.00     $           18.00   $            6.00 $          120.00    $          120.00
       7/24/2016      7/30/2016        1.00          60.00           20.00              6.00        $       120.00    $            -     $                720.00      $              12.00     $           18.00   $            6.00 $          120.00    $          120.00
       7/31/2016       8/6/2016        1.00          60.00           20.00              6.00        $       120.00    $            -     $                720.00      $              12.00     $           18.00   $            6.00 $          120.00    $          120.00
        8/7/2016      8/13/2016        1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       8/14/2016      8/20/2016        1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       8/21/2016      8/27/2016        1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       8/28/2016       9/3/2016        1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
        9/4/2016      9/10/2016        1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       9/11/2016      9/17/2016        1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       9/18/2016      9/24/2016        1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       9/25/2016      10/1/2016        1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       10/2/2016      10/8/2016        1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       10/9/2016      10/15/2016       1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       10/16/2016     10/22/2016       1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       10/23/2016     10/29/2016       1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       10/30/2016     11/5/2016        1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       11/6/2016      11/12/2016       1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       11/13/2016     11/19/2016       1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       11/20/2016     11/26/2016       1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       11/27/2016     12/3/2016        1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       12/4/2016      12/10/2016       1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       12/11/2016     12/17/2016       1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       12/18/2016     12/24/2016       1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
       12/25/2016     12/31/2016       1.00          63.00           23.00              6.00        $       120.00    $            -     $                720.00      $              11.43     $           17.15   $            5.72 $          131.56    $          131.56
                                                                                                                                                                                                                             2016 Overtime Compensation   $        3,842.76
2017     1/1/2017     12/30/2017       52.00         63.00           23.00              6.00        $       140.00    $            -     $                840.00      $              13.33     $           20.00   $            6.67 $          153.41    $        7,977.32
                                                                                                                                                                                                                       2017 Overtime Compensation Owed:   $        7,977.32
2018   12/31/2017      1/6/2018        1.00          63.00           23.00              6.00       $        140.00    $            -     $                 840.00    $               13.33     $           20.00   $            6.67 $          153.41    $          153.41
        1/7/2018      1/13/2018        1.00          63.00           23.00              6.00       $        140.00    $         170.00   $               1,010.00    $               16.03     $           24.05   $            8.02 $          184.46    $          184.46
       1/14/2018      1/20/2018        1.00          63.00           23.00              6.00       $        140.00    $         170.00   $               1,010.00    $               16.03     $           24.05   $            8.02 $          184.46    $          184.46
       1/21/2018      1/27/2018        1.00          63.00           23.00              6.00       $        140.00    $         105.00   $                 945.00    $               15.00     $           22.50   $            7.50 $          172.50    $          172.50
       1/28/2018       2/3/2018        1.00          60.00           20.00              6.00       $        150.00    $         185.00   $               1,085.00    $               18.08     $           27.12   $            9.04 $          180.80    $          180.80
        2/4/2018      2/10/2018        1.00          70.00           30.00              7.00       $        150.00    $         125.00   $               1,175.00    $               16.79     $           25.19   $            8.40 $          252.00    $          252.00
       2/11/2018      2/17/2018        1.00          70.00           30.00              7.00       $        150.00    $         155.00   $               1,205.00    $               17.21     $           25.82   $            8.61 $          258.30    $          258.30
       2/18/2018      2/24/2018        1.00          70.00           30.00              7.00       $        150.00    $         190.00   $               1,240.00    $               17.71     $           26.57   $            8.86 $          265.80    $          265.80
       2/25/2018       3/3/2018        1.00          60.00           20.00              6.00       $        150.00    $         200.00   $               1,100.00    $               18.33     $           27.50   $            9.17 $          183.40    $          183.40
        3/4/2018      3/10/2018        1.00          60.00           20.00              6.00       $        150.00    $         100.00   $               1,000.00    $               16.67     $           25.01   $            8.34 $          166.80    $          166.80
       3/11/2018      3/17/2018        1.00          60.00           20.00              6.00       $        150.00    $         155.00   $               1,055.00    $               17.58     $           26.37   $            8.79 $          175.80    $          175.80
       3/18/2018      3/24/2018        1.00          70.00           30.00              7.00       $        150.00    $         145.00   $               1,195.00    $               17.07     $           25.61   $            8.54 $          256.20    $          256.20
       3/25/2018      3/31/2018        1.00          60.00           20.00              6.00       $        150.00    $          85.00   $                 985.00    $               16.42     $           24.63   $            8.21 $          164.20    $          164.20
        4/1/2018       4/7/2018        1.00          70.00           30.00              7.00       $        150.00    $         160.00   $               1,210.00    $               17.29     $           25.94   $            8.65 $          259.50    $          259.50
        4/8/2018      4/14/2018        1.00          65.00           25.00              6.50       $        150.00    $         165.00   $               1,140.00    $               17.54     $           26.31   $            8.77 $          219.25    $          219.25
       4/15/2018      4/21/2018        1.00          60.00           20.00              6.00       $        150.00    $          70.00   $                 970.00    $               16.17     $           24.26   $            8.09 $          161.80    $          161.80
       4/22/2018      4/28/2018        1.00          70.00           30.00              7.00       $        150.00    $          85.00   $               1,135.00    $               16.21     $           24.32   $            8.11 $          243.30    $          243.30
       4/29/2018       5/5/2018        1.00          60.00           20.00              6.00       $        150.00    $          90.00   $                 990.00    $               16.50     $           24.75   $            8.25 $          165.00    $          165.00
        5/6/2018      5/12/2018        1.00          60.00           20.00              6.00       $        150.00    $          55.00   $                 955.00    $               15.92     $           23.88   $            7.96 $          159.20    $          159.20
       5/13/2018      5/19/2018        1.00          70.00           30.00              7.00       $        150.00    $         100.00   $               1,150.00    $               16.43     $           24.65   $            8.22 $          246.60    $          246.60
       5/20/2018      5/26/2018        1.00          70.00           30.00              7.00       $        150.00    $          80.00   $               1,130.00    $               16.14     $           24.21   $            8.07 $          242.10    $          242.10
       5/27/2018       6/2/2018        1.00          60.00           20.00              6.00       $        150.00    $         135.00   $               1,035.00    $               17.25     $           25.88   $            8.63 $          172.60    $          172.60
        6/3/2018       6/9/2018        1.00          50.00           10.00              5.00       $        150.00    $          80.00   $                 830.00    $               16.60     $           24.90   $            8.30 $            83.00   $           83.00
       6/10/2018      6/16/2018        1.00          60.00           20.00              6.00       $        150.00    $         160.00   $               1,060.00    $               17.67     $           26.51   $            8.84 $          176.80    $          176.80
       6/17/2018      6/23/2018        1.00          60.00           20.00              6.00       $        150.00    $          80.00   $                 980.00    $               16.33     $           24.50   $            8.17 $          163.40    $          163.40
       6/24/2018      6/30/2018        1.00          70.00           30.00              7.00       $        150.00    $         100.00   $               1,150.00    $               16.43     $           24.65   $            8.22 $          246.60    $          246.60
        7/1/2018       7/7/2018        1.00          60.00           20.00              6.00       $        130.00    $            -     $                 780.00    $               13.00     $           19.50   $            6.50 $          130.00    $          130.00
        7/8/2018      7/14/2018        1.00          60.00           20.00              6.00       $        130.00    $            -     $                 780.00    $               13.00     $           19.50   $            6.50 $          130.00    $          130.00
       7/15/2018      7/21/2018        1.00           0.00            0.00              0.00       $           -      $            -     $                    -      $                 -       $             -     $             -    $             -     $             -
       7/22/2018      7/28/2018        1.00          60.00           20.00              6.00       $        130.00    $            -     $                 780.00    $               13.00     $           19.50   $            6.50 $          130.00    $          130.00
                                            Case 1:22-cv-03053-SN Document 57-20 Filed 06/26/23 Page 3 of 4


                                                                                                          CALCULATION OF DAMAGES
                                                                                                              ANTHONY TABAS

        7/29/2018      8/4/2018         1.00            55.00          15.00            5.50        $             130.00    $   -   $   715.00   $   13.00   $   19.50   $          6.50 $            97.50   $       97.50
         8/5/2018     8/11/2018         1.00            60.00          20.00            6.00        $             130.00    $   -   $   780.00   $   13.00   $   19.50   $          6.50 $          130.00    $      130.00
        8/12/2018     8/18/2018         1.00            60.00          20.00            6.00        $             130.00    $   -   $   780.00   $   13.00   $   19.50   $          6.50 $          130.00    $      130.00
        8/19/2018     8/25/2018         1.00            50.00          10.00            5.00        $             130.00    $   -   $   650.00   $   13.00   $   19.50   $          6.50 $            65.00   $       65.00
        8/26/2018      9/1/2018         1.00            50.00          10.00            5.00        $             130.00    $   -   $   650.00   $   13.00   $   19.50   $          6.50 $            65.00   $       65.00
         9/2/2018      9/8/2018         1.00            60.00          20.00            6.00        $             130.00    $   -   $   780.00   $   13.00   $   19.50   $          6.50 $          130.00    $      130.00
         9/9/2018     9/15/2018         1.00            40.00           0.00            4.00        $             130.00    $   -   $   520.00   $   13.00   $   19.50   $          6.50 $              -     $         -
        9/16/2018     9/22/2018         1.00            50.00          10.00            5.00        $             130.00    $   -   $   650.00   $   13.00   $   19.50   $          6.50 $            65.00   $       65.00
        9/23/2018     9/29/2018         1.00            60.00          20.00            6.00        $             130.00    $   -   $   780.00   $   13.00   $   19.50   $          6.50 $          130.00    $      130.00
        9/30/2018     10/6/2018         1.00            20.00           0.00            2.00        $             130.00    $   -   $   260.00   $   13.00   $   19.50   $          6.50 $              -     $         -
                                                                                                                                                                           2018 Overtime Compensation Owed:   $    6,339.78
                                                                                                                                                                         TOTAL NYLL OVERTIME OWED:            $   18,159.86

                         NYLL 195(1) WAGE NOTICE STATUTORY PENALTIES
                                                              Total Number
                                               Number of Days of Work Days                          Statutory
       Period Start   Period End     Number of                                 NYLL 195(1)          Penalties
Year                                            Worked per    (Weeks Worked x
           Date          Date     Weeks Worked                                Notices Received ($50.00 x No. of Days
                                                  Week         Work Days per
                                                                                                     Worked)
                                                                       Week)
2016    6/5/2016      12/31/2016        30.00           6.00           180.00      None             $           9,000.00
2017    1/1/2017      12/30/2017        52.00           6.00           312.00      None             $          15,600.00
2018   12/31/2017      1/6/2018         1.00            6.00            6.00       None             $             300.00
        1/7/2018      1/13/2018         1.00            6.00            6.00       None             $             300.00
       1/14/2018      1/20/2018         1.00            6.00            6.00       None             $             300.00
       1/21/2018      1/27/2018         1.00            6.00            6.00       None             $             300.00
       1/28/2018       2/3/2018         1.00            6.00            6.00       None             $             300.00
        2/4/2018      2/10/2018         1.00            7.00            7.00       None             $             350.00
       2/11/2018      2/17/2018         1.00            7.00            7.00       None             $             350.00
       2/18/2018      2/24/2018         1.00            7.00            7.00       None             $             350.00
       2/25/2018       3/3/2018         1.00            6.00            6.00       None             $             300.00
        3/4/2018      3/10/2018         1.00            6.00            6.00       None             $             300.00
       3/11/2018      3/17/2018         1.00            6.00            6.00       None             $             300.00
       3/18/2018      3/24/2018         1.00            7.00            7.00       None             $             350.00
       3/25/2018      3/31/2018         1.00            6.00            6.00       None             $             300.00
        4/1/2018       4/7/2018         1.00            7.00            7.00       None             $             350.00
        4/8/2018      4/14/2018         1.00            6.50            6.50       None             $             325.00
       4/15/2018      4/21/2018         1.00            6.00            6.00       None             $             300.00
       4/22/2018      4/28/2018         1.00            7.00            7.00       None             $             350.00
       4/29/2018       5/5/2018         1.00            6.00            6.00       None             $             300.00
        5/6/2018      5/12/2018         1.00            6.00            6.00       None             $             300.00
       5/13/2018      5/19/2018         1.00            7.00            7.00       None             $             350.00
       5/20/2018      5/26/2018         1.00            7.00            7.00       None             $             350.00
       5/27/2018       6/2/2018         1.00            6.00            6.00       None             $             300.00
        6/3/2018       6/9/2018         1.00            5.00            5.00       None             $             250.00
       6/10/2018      6/16/2018         1.00            6.00            6.00       None             $             300.00
       6/17/2018      6/23/2018         1.00            6.00            6.00       None             $             300.00
       6/24/2018      6/30/2018         1.00            7.00            7.00       None             $             350.00
        7/1/2018       7/7/2018         1.00            6.00            6.00       None             $             300.00
        7/8/2018      7/14/2018         1.00            6.00            6.00       None             $             300.00
       7/22/2018      7/28/2018         1.00            6.00            6.00       None             $             300.00
       7/29/2018       8/4/2018         1.00            5.50            5.50       None             $             275.00
        8/5/2018      8/11/2018         1.00            6.00            6.00       None             $             300.00
       8/12/2018      8/18/2018         1.00            6.00            6.00       None             $             300.00
       8/19/2018      8/25/2018         1.00            5.00            5.00       None             $             250.00
       8/26/2018       9/1/2018         1.00            5.00            5.00       None             $             250.00
        9/2/2018       9/8/2018         1.00            6.00            6.00       None             $             300.00
        9/9/2018      9/15/2018         1.00            4.00            4.00       None             $             200.00
       9/16/2018      9/22/2018         1.00            5.00            5.00       None             $             250.00
       9/23/2018      9/29/2018         1.00            6.00            6.00       None             $             300.00
       9/30/2018      10/6/2018         1.00            2.00            2.00       None             $             100.00
                                                                                   Gross Total:     $          36,250.00
                                     TOTAL NYLL 195(1) PENALTIES ($5,000 Statutory Maximum):        $           5,000.00

                       NYLL 195(3) WAGE STATEMENT STATUTORY DAMAGES
                                                              Total Number
                                               Number of Days of Work Days                                Statutory
       Period Start   Period End    Number of                                  NYLL 195(3)                Penalties
Year                                            Worked per    (Weeks Worked x
           Date          Date     Weeks Worked                                Notices Received          ($250.00 x No. of
                                                  Week         Work Days per
                                                                                                          Days Worked)
                                                                       Week)
                                                            Case 1:22-cv-03053-SN Document 57-20 Filed 06/26/23 Page 4 of 4


                                                                                                                       CALCULATION OF DAMAGES
                                                                                                                           ANTHONY TABAS

    2016            6/5/2016       12/31/2016           30.00           6.00          180.00        None           $     45,000.00
    2017            1/1/2017       12/30/2017           52.00           6.00          312.00        None           $     78,000.00
    2018           12/31/2017       1/6/2018            1.00            6.00           6.00         None           $      1,500.00
                    1/7/2018       1/13/2018            1.00            6.00           6.00         None           $      1,500.00
                   1/14/2018       1/20/2018            1.00            6.00           6.00         None           $      1,500.00
                   1/21/2018       1/27/2018            1.00            6.00           6.00         None           $      1,500.00
                   1/28/2018        2/3/2018            1.00            6.00           6.00         None           $      1,500.00
                    2/4/2018       2/10/2018            1.00            6.00           6.00         None           $      1,500.00
                   2/11/2018       2/17/2018            1.00            7.00           7.00         None           $      1,750.00
                   2/18/2018       2/24/2018            1.00            7.00           7.00         None           $      1,750.00
                   2/25/2018        3/3/2018            1.00            7.00           7.00         None           $      1,750.00
                    3/4/2018       3/10/2018            1.00            6.00           6.00         None           $      1,500.00
                   3/11/2018       3/17/2018            1.00            6.00           6.00         None           $      1,500.00
                   3/18/2018       3/24/2018            1.00            6.00           6.00         None           $      1,500.00
                   3/25/2018       3/31/2018            1.00            7.00           7.00         None           $      1,750.00
                    4/1/2018        4/7/2018            1.00            6.00           6.00         None           $      1,500.00
                    4/8/2018       4/14/2018            1.00            7.00           7.00         None           $      1,750.00
                   4/15/2018       4/21/2018            1.00            6.50           6.50         None           $      1,625.00
                   4/22/2018       4/28/2018            1.00            6.00           6.00         None           $      1,500.00
                   4/29/2018        5/5/2018            1.00            7.00           7.00         None           $      1,750.00
                    5/6/2018       5/12/2018            1.00            6.00           6.00         None           $      1,500.00
                   5/13/2018       5/19/2018            1.00            6.00           6.00         None           $      1,500.00
                   5/20/2018       5/26/2018            1.00            7.00           7.00         None           $      1,750.00
                   5/27/2018        6/2/2018            1.00            7.00           7.00         None           $      1,750.00
                    6/3/2018        6/9/2018            1.00            6.00           6.00         None           $      1,500.00
                   6/10/2018       6/16/2018            1.00            5.00           5.00         None           $      1,250.00
                   6/17/2018       6/23/2018            1.00            6.00           6.00         None           $      1,500.00
                   6/24/2018       6/30/2018            1.00            6.00           6.00         None           $      1,500.00
                    7/1/2018        7/7/2018            1.00            7.00           7.00         None           $      1,750.00
                    7/8/2018       7/14/2018            1.00            6.00           6.00         None           $      1,500.00
                   7/22/2018       7/28/2018            1.00            6.00           6.00         None           $      1,500.00
                   7/29/2018        8/4/2018            1.00            5.50           5.50         None           $      1,375.00
                    8/5/2018       8/11/2018            1.00            6.00           6.00         None           $      1,500.00
                   8/12/2018       8/18/2018            1.00            6.00           6.00         None           $      1,500.00
                   8/19/2018       8/25/2018            1.00            5.00           5.00         None           $      1,250.00
                   8/26/2018        9/1/2018            1.00            5.00           5.00         None           $      1,250.00
                    9/2/2018        9/8/2018            1.00            6.00           6.00         None           $      1,500.00
                    9/9/2018       9/15/2018            1.00            4.00           4.00         None           $      1,000.00
                   9/16/2018       9/22/2018            1.00            5.00           5.00         None           $      1,250.00
                   9/23/2018       9/29/2018            1.00            6.00           6.00         None           $      1,500.00
                   9/30/2018       10/6/2018            1.00            2.00           2.00         None           $        500.00
                                                                                                    Gross Total:   $    181,250.00
                                                      TOTAL NYLL 195(3) PENALTIES ($5,000 Statutory Maximum):      $      5,000.00

                                   CPLR INTEREST PURSUANT TO NY LAW
                                               Number of                             Total Interest
Claims Period    Claims Period    Approximate Years From   9% Interest                    Owed
                                                                       Comp Owed
    Start            End           Mid-Point  Mid-Point to  Rate/ Year              (No. Years x 0.09 x
                                                6/26/23                               Comp Owed)
  6/5/2016         10/6/2018        8/5/2017      5.89         0.09    $ 18,159.86 $         9,629.45
                                              TOTAL CPLR INTEREST OWED TO DATE: $            9,629.45

                NYLL LIQUIDATED DAMAGES

    Year          Comp Owed           LD %         LD Per Year

   2016    $   3,842.76  100%                     $       3,842.76
   2017    $   7,977.32  100%                     $       7,977.32
   2018    $   6,339.78  100%                     $       6,339.78
  TOTAL NYLL LIQUIDATED DAMAGES:                  $      18,159.86

                      ESTIMATED TOTAL
              Total Overtime Compensation Owed: $       18,159.86
                      Total Wage Notice Penalties: $     5,000.00
                   Total Wage Statement Penalties: $     5,000.00
                 Total Liquidated Damages Owed: $       18,159.86
                              Total Interest Owed: $     9,629.45
                        *ESTIMATED TOTAL: $             55,949.17
             *Plus reasonable attorneys' fees and costs
